Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 1 of 17 PageID #: 1234



                 UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TEXAS
                       SHERMAN DIVISION

        Timothy Jackson,

                                Plaintiff,

        v.

        Laura Wright, Milton B. Lee, Melisa             Case No. 4:21-cv-00033-ALM
        Denis, Mary Denny, Daniel Feehan,
        A.K. Mago, Carlos Munguia, and G.
        Brint Ryan, each in their official capacities
        as members of the Board of Regents for
        the University of North Texas System;
        Rachel Gain; Ellen Bakulina; Andrew
        Chung; Diego Cubero; Steven Friedson;
        Rebecca Dowd Geoffroy-Schwinden;
        Benjamin Graf; Frank Heidlberger;
        Bernardo Illari; Justin Lavacek; Peter
        Mondelli; Margaret Notley; April L.
        Prince; Cathy Ragland; Gillian
        Robertson; Hendrik Schulze; Vivek
        Virani; and Brian F. Wright,
        Defendants.




   TIMOTHY JACKSON’S OPPOSITION TO THE STATE’S DAUBERT MOTION
       (MOTION TO STRIKE PLAINTIFF’S EXPERT CASEY BORMAN)
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 2 of 17 PageID #: 1235



         Plaintiff Timothy Jackson respectfully opposes the State’s Motion to Strike Plaintiff’s Expert

Casey Borman (“Daubert Motion”) in compliance with E.D. Tex. Local Rule CV-7(a)(2). The

Daubert Motion basically asks for a ruling of law that there are no damages in this case. This is

clearly not true and not appropriate at this stage of litigation. The Court should not take the bait.

Professor Borman satisfies all the relevant criteria for admissions under Daubert/Kumho Tire.

  I.     BACKGROUND

         Plaintiff Timothy Jackson was and is a Senior Distinguished University Research Professor

of Music Theory in University of North Texas’ College of Music (“UNT”) in the Division of Music

History, Theory, and Ethnomusicology (“MHTE”). ECF No. 1-1 (Affidavit of Timothy Jackson,

dated January 7, 2021 (“First Jackson Aff”), ¶ 1. As the title awarded to Professor Jackson,

“Distinguished Research Professor,” indicates, “[t]he purpose of this award is to recognize tenured

faculty at the rank of professor who have achieved a truly exceptional record of creative activities or

research productivity and who demonstrate a record of continued extraordinary productivity.”1 In

this position, Timothy Jackson is required to produce scholarship at the highest level, and UNT

evaluates him upon his scholarly productivity in research and publication in his periodic evaluations.

Affidavit of Timothy Jackson, dated August 20, 2024 (“Third Jackson Aff”), ¶ 3.

         In July 2020, Professor Jackson became the target of a vicious cancellation campaign. First

Jackson Aff, ¶¶ 124-138. The cancel campaign focused on his publication in Volume 12 of the

Journal of Schenkerian Studies (“JSS”). Id., ¶ 5 and ECF No. 1-4 (JSS, v. 12). Professor Jackson

founded the JSS approximately 20 years ago. Id., ¶ 4. He also serves as the director of the Center

for Schenkerian Studies (“CSS”). Professor Jackson was the leading member of the JSS Editorial




1 The Court may take judicial notice of UNT's own description of this title, available at

https://vpaa.unt.edu/fs/recognition/list/research.

                                                             1
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 3 of 17 PageID #: 1236



Board, and the graduate student editor, Levi Walls, “report[ed] to Timothy Jackson.” ECF No. 1-6

(Facebook apologia of Levi Walls).

         Despite the fact that Professor Jackson worked with other faculty editorial board members

(including Defendants Ellen Bakulina, Diego Cubero, and Andrew Chung) and with Mr. Walls on

the JSS, UNT exclusively targeted Timothy Jackson through a so-called “Ad Hoc Panel” which

investigated his supposed “editorial mismanagement” of the JSS, which issued a Report of

November 25, 2020. ECF No. 1-5. The “mismanagement” consisted of Jackson’s display of

courage, but in UNT’s view, enormous bad taste, in publishing in Volume 12 that the entire

tradition of Western Classical Music is not systemically racist. Id. UNT maintains and enforces a

state-sponsored orthodoxy of “anti-racism” or what student editor Levi Walls called “politically

correct discourse.” ECF No. 1-2 at PageID # 122. Professor Jackson dissented from this state-

sponsored orthodoxy and quickly paid the price. ECF No. 1-1, First Jackson Aff, ¶¶ 99-149. The

price was censorship.

         Based on various misrepresentations that need not be recounted here, graduate students at

the University of North Texas, including Defendant Rachel Gain, circulated a petition accusing

Professor Jackson of “racist actions” and even “extortion.” Compare Affidavit of Michael Thad

Allen, Exhibit 1 (UNT_001169).2 What specific “actions” have never been identified, much less

“extortion.” Id., Exhibit 2 (Defendants Answer to Request for Admissions No. 4, admitting

Defendants had knowledge of “extortion”). The petition called for Professor Jackson to be fired,

the JSS censored, and the CSS closed. Id.

         The seventeen faculty co-defendants in this case circulated a petition of their own July 31,

2020 endorsing the student petition and incorporating it by reference.



2 This exhibit was marked "confidential"; however, the parties have agreed to its disclosure on the condition that student

names other than Defendant Rachel Gain our redacted.

                                                            2
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 4 of 17 PageID #: 1237



         We endorse the call for action outlined in our students’ letter
         (https://drive.google.com/file/d/1PekRT8tr5RXWRTW6Bqdaq57svqBRRcQK
         /view), which asks that the College of Music “publicly condemn the issue and
         release it freely online to the public” and “provide a full public account of the
         editorial and publication process, and its failures.” Responsible parties must be held
         appropriately accountable.

ECF No. 1-5 at PageID #284. Thus Defendants “endorse[d]” factual statements that Professor

Jackson had committed non-existent “racist actions” and “extortion.” These were not mere

“opinions” but affirmative, false assertions subject to objective disproof. Since Timothy Jackson

never committed any “racist actions” or “extortion,” the real reason for the petitions calling for his

cancellation was his article suggesting that classical music is not systemically racist, protected speech

that hurt Defendants’ subjective feelings about race relations in America.

        In response, UNT censored the JSS, and it remains censored to this day, as confirmed in this

Court’s hearing on jurisdiction. “[A]s UNT put it, the Journal is ‘on ice,’ or, in other words, at a

functional standstill.” Jackson v. Wright, Civil Action No. 4:21-CV-00033, 2022 U.S. Dist. LEXIS

8684, at *9 (E.D. Tex. Jan. 18, 2022).

        Directly after Professor Jackson was accused of “racist actions” and “extortion,” Dean John

Richmond (who would testify in open court that he had placed the JSS “on ice” (Id.)) announced on

July 31, 2020 that

         The University of North Texas College of Music has begun a formal investigation
         into the conception and production of the twelfth volume of the Journal of
         Schenkerian Studies, which is published by the Center for Schenkerian Studies and
         UNT Press. The University, the College of Music, and the Division of Music
         History, Theory, and Ethnomusicology reaffirm our dedication to combatting
         racism on campus and across all academic disciplines. We likewise remain deeply
         committed to the highest standards of music scholarship, professional ethics,
         academic freedom, and academic responsibility.

ECF No. 1-15 at PageID #320. And on December 11, 2020, Professor Jackson’s department chair,

Dr. Benjamin Brand, informed him that he would be removed from the JSS due to supposed

“findings of editorial mismanagement.” First Jackson Aff, ¶ 146; ECF No. 1-22 at PageID #345.


                                                    3
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 5 of 17 PageID #: 1238



Thus, there was a clear causal connection between the Defendants’ defamatory statements and the

censorship of the JSS as well as Professor Jackson’s removal from the JSS, all of which was, in Dean

Richmond’s words, part of putting the JSS “on ice.” Jackson, 2022 U.S. Dist. LEXIS 8684, at *9.

        The student editor of the JSS, Levi Walls, quit without consequences, although it was plain

that he lied continually about his role on the JSS, and this was known or easily knowable to all

Defendants. First Jackson Aff, ¶¶ 30, 67-90. Levi Walls had been compensated with a graduate

student research assistantship which was paid at a one-half full-time equivalent salary (“FTE”).

Third Jackson Aff, ¶ 5 and Exhibit A (UNT_002539). As Levi Walls worked for Professor Jackson,

who was his immediate report, and Jackson was the direct and intended beneficiary of the one-half

FTE paid to Levi Walls, which promoted and enhanced Professor Jackson’s scholarly productivity.

Id., ¶ 7. Records produced in discovery indicate that UNT values a graduate-student FTE at

$39,253.28. Third Jackson Aff, ¶ 6, Exhibit B. Timothy Jackson discussed all of these facts with

the expert Casey Borman prior to his expert disclosure. Id., ¶ 12.

        The State’s brief equivocates over this compensation paid to a graduate student FTE. Yet

the State provides no evidence suggesting any other figure. Daubert Motion at Page ID #1216-

1217. No other evidence of Levi Walls’ compensation has been provided to date by Defendants; so

the deficiency (if any) in the data is entirely due to Defendants’ withholding. It is certainly not

caused by the expert’s lack of diligence.

        For Professor Jackson’s work on the JSS and to promote his scholarship as a Distinguished

Research Professor, Professor Jackson was also given a one-course teaching load reduction.

Affidavit of Timothy, dated June 11, 2024 (“Second Jackson Aff”), ¶¶ 4-11. This is called a

“remission” in UNT’s administrative parlance. Id. Ordinarily, UNT faculty are required to teach

two courses each semester, or a 2-2 load, indicating a total teaching workload of 4 classes. Id.

Professor Jackson received the benefit of a course reduction which he should have enjoyed, had the


                                                    4
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 6 of 17 PageID #: 1239



JSS not been suppressed. Id. But after the cancellation of the JSS, this was stripped from him, and

he is required to teach a full 2-2 load. Id. Defendants do not dispute that the course reduction was

taken away from Professor Jackson. They merely dispute that he was damaged economically by his

altered employment arrangement in which he now works more for the same pay.

       Being a Distinguished Research Professor depends upon Professor Jackson doing at least as

much work in research and publication as he did before. Third Jackson Aff, ¶ 8. Unfortunately, the

reputational harm done by Defendants has caused Professor Jackson to work harder than before.

Id., ¶ 9 Professor Jackson has also worked to seek other venues for the publication of the JSS,

unfortunately without success and without being paid. Id., ¶ 10. Professor Jackson’s annual salary in

2024 was 100,876.32. Id., ¶ 11 and Exhibit C. Thus, after his cancellation and the censorship of

the JSS, Professor Jackson works more not less. But his salary has stayed flat. Id.

       In sum, UNT took the cookie jar away from Professor Jackson. The beloved JSS which he

had founded and nurtured through 20 years, and through which he launched the careers of a half-

dozen graduate students, including Defendant Benjamin Graf, is now shuttered. The State now

argues that the JSS, Professor Jackson’s work on the JSS, and the benefits he drew from this work

(e.g., graduate student assistance and the one-course remission) has no monetary value. Therefore,

the State avers, Jackson’s cancellation cannot be monetized in any way. Yet what is clear is that

UNT made a monetary investment in the work Professor Jackson did for the JSS. This was

equivalent to a one-course reduction in teaching and a .50 FTE research assistant, of which

Professor Jackson was the direct beneficiary.

       Defendants do not dispute that the student editor of the JSS, Levi Walls, was simply allowed

to quit his post and lie about it without any consequences (except to damage Timothy Jackson), or

that the .50 FTE increased Timothy Jackson’s scholarly productivity, or that Timothy Jackson had to

increase his effort and time spent on scholarly output to make up for this loss.


                                                  5
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 7 of 17 PageID #: 1240



        UNT now comes to Court arguing that Professor Jackson has no damages simply because

the university did not short his pay. In other words, after UNT not only took the cookie jar away,

but they also insisted that Professor Jackson basically eat warmed over spinach and tuna casserole in

place of his former diet—and more of it. Notwithstanding the meritless nature of this argument,

this is no reason to strike a competent expert on damages.

 II.    ARGUMENT AND AUTHORITIES

    A. Legal Standard

        The State alternates between two contradictory arguments. First, the State argues that Casey

Borman applies no reliable methodology. Second, they argue that Professor Borman applies

nothing more than straightforward arithmetic — indicating that his methods are too reliable.

Whatever calculations Professor Borman performs should, in their view, be left to the Jury,

apparently to scribble on a napkin.

        1) The Broad Standard for Defamation Damages

        Under any standard the testimony of Professor Casey Borman is admissible. But,

importantly, defamation law admits broader evidence of damages than other tort claims because

reputational harm is at issue. This is because the principal damage is to “reputation and standing in

the community, personal humiliation, and mental anguish and suffering,’ for which “there is plainly

no logical method for expressing . . . in dollars and cents.” Sack on Defamation, § 10:1 (5th ed.

2017) (quoting Gertz v. Robert Welch, Inc., 418 U.S. 323, 348–49 (1974)); see also Bentley v. Bunton, 94

S.W.3d 561, 605 (Tex. 2002) (“Non-economic damages like [damage to character and reputation]

cannot be determined by mathematical precision.”).

        Because the defamatory harm to reputation is often intangible, evidence as to defamation’s

impact on the Plaintiff is particularly relevant, and one example is diminished job opportunity. See

e.g. Mem'l Hermann Health Sys. v. Gomez, 649 S.W.3d 415, 427 (Tex. 2022) (explaining that “[t]he


                                                     6
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 8 of 17 PageID #: 1241



evidence must show that people believed the statements and the plaintiff's reputation was actually

affected” and surveying cases in which damages were based on evidence of lost job opportunities).

Likewise, loss of time (or, here, the damage caused by Defendants in terms of Professor Jackson’s

need to devote more time and personal resources to maintain his research and scholarship) is

compensable. “[H]arm to earning capacity” counts as “damages for pecuniary harm”; and it may be

measured by “[t]ime losses.” Waste Mgmt. of Tex., Inc. v. Tex. Disposal Sys. Landfill, Inc., 434 S.W.3d

142, 153 (Tex. 2014). It makes no sense, as the State maintains, that the time lost by forcing

Professor Jackson to work more for the same compensation may not be recovered as damages.

And the State does not dispute that Professor Jackson has suffered an increased teaching load and

the withdrawal of the .50 FTE on which he relied to formally sustain his scholarly productivity. The

State simply argues that the Defendants can do this to Professor Jackson if they want to.

        There are two categories of defamation. Under Texas law, “defamation per se refers to

statements that are so obviously harmful that general damages, such as mental anguish and loss of

reputation, are presumed.” Klocke v. Watson, No. 20-10103, 2021 U.S. App. LEXIS 36482, at *18

(5th Cir. Dec. 10, 2021). The plaintiff need not prove monetary damages at all. See also ProPublica,

Inc. v. Frazier, No. 01-22-00281-CV, 2024 Tex. App. LEXIS 2883, at *21 (Tex. App. Apr. 25, 2024)

(defamation per se damages may be presumed). “Juries may award substantial sums as compensation

for supposed damage to reputation without any proof that such harm actually occurred.” Gertz v.

Robert Welch, 418 U.S. 323, 349, 94 S. Ct. 2997, 3011-12 (1974). “Suffice it to say that actual injury is

not limited to out-of-pocket loss.” Id. at 350. But a Plaintiff may also recover for defamation per

quod, where “[d]efamation . . . is apparent but not . . . actionable per se,” and in such a case,

“[n]ominal damages are not recoverable, and actual damages must be proven.” Klocke, 2021 U.S.

App. LEXIS 36482, at *19.




                                                     7
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 9 of 17 PageID #: 1242



        Defendants defamatory statements that Professor Jackson had committed “racist actions”

and “extortion” are clearly defamation per se. See e.g. NRA of Am. v. Ackerman McQueen, Inc., No.

3:19-CV-2074-G, 2021 U.S. Dist. LEXIS 153421, at *32 (N.D. Tex. Aug. 16, 2021) (“allegations of

extortion may give rise to defamation per se”). But even if the defamation of Timothy Jackson were

only per quod, the standard for what counts as evidence of damages is lenient. “As explained by the

Texas Supreme Court,

         in a defamation case, when the damages are for non-economic losses, such as
         mental anguish or lost reputation, the jury must be given some latitude because
         these general damages are, by their nature, incapable of precise mathematical
         measure. But the evidence of loss of reputation should be more than theoretical
         — there must be evidence that people believed the statements and the plaintiff's
         reputation was actually affected.

Klocke, 2021 U.S. App. LEXIS 36482, at *20 (internal quotations omitted). Thus, Plaintiff should be

able to put in evidence of the monetary value of Defendants’ reputational damages, in this case the

monetary value of the “cookie jar” that Defendants stripped away from Professor Jackson.

        2) The Well-Established Daubert Standard

        Throughout, the State’s brief is extremely light on legal authority. There is little more than

boilerplate reference to Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) and Kumho Tire Co.,

Ltd. v. Carmichael, 526 U.S. 137, 141, 147 (1999). And the State simply recites the standard under

F.R.E. 702.

        To meet the Rule 702 standard, “[t]he party offering the expert's testimony has the burden to

prove [by a preponderance] that: (1) the expert is qualified; (2) the testimony is relevant to an issue

in the case; and (3) the testimony is reliable. A proffered expert witness is qualified to testify by

virtue of his or her ‘knowledge, skill, experience, training, or education.’” Kim v. Am. Honda Motor

Co., Civil Action No. 4:19-CV-00332, 2022 U.S. Dist. LEXIS 90443, at *3 (E.D. Tex. May 19, 2022)

(citing Daubert, 509 U.S. at 590-91 and quoting FRE 702).



                                                    8
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 10 of 17 PageID #: 1243



        “[T]he rejection of expert testimony is the exception rather than the rule.” Mullenix v. Univ.

of Tex. at Austin, No. 1-19-CV-1203-LY-SH, 2021 U.S. Dist. LEXIS 180630, at *4 (W.D. Tex. Sep.

21, 2021) (quoting FRE 702 advisory committee's note to 2000 amendment). “As a general rule,

questions relating to the bases and sources of an expert's opinion affect the weight to be assigned

that opinion rather than its admissibility and should be left for the jury’s consideration.” Id. at *21-

22 (quoting Viterbo v. Dow Chem. Co., 826 F.2d 420, 422 (5th Cir. 1987)).

        Even protestations that an expert’s opinions are “unsupported or conclusory” are best

addressed by “vigorous cross examination.” Mobility Workx, LLC v. Cellco P'ship, 4:17-CV-00872,

2019 U.S. Dist. LEXIS 191345, at *23 (E.D. Tex. Nov. 5, 2019). See also Mullenix, 2021 U.S. Dist.

LEXIS 180630, at *21-23 (admitting expert despite protestations that he simply “parrots a variety of

calculations he arrived at using simple math applied to assumptions he was asked to make by

[p]laintiff's counsel” because this was not a basis for disqualification but the proper subject of cross-

examination).

    B. Borman’s Qualifications Are Not Challenged

        Understandably, the State has no objection to Professor Borman’s qualifications. See ECF

No. 70-1, PageID 1207-1208, 1221-1222. Professor Borman’s expert knowledge, skill, experience,

training, and education should therefore be accepted by the Court.

    C. Net Present Value and Worklife Expectancy Calculations Are Not Questioned

        Furthermore, at no point does the State challenge Casey Borman’s calculation of the net

present value of Professor Jackson’s loss over his future working life or Borman’s data for making

these calculations. Professor Borman has applied the accepted, established methods of calculating

the net present value (also called “discounting”) of the damage done to Professor Timothy Jackson

based on the Markov Assumption for work-life expectancy. Id., PageID 1211-1213.




                                                    9
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 11 of 17 PageID #: 1244



        In fact, this is the heart of Professor Borman’s opinion on damages, which will instruct the

jury in the proper financial estimates of value necessary to compensate Timothy Jackson for the

damage done to him over time, especially where the accumulated and accumulating damage is non-

obvious. See Opinion 5 at Id., PageID 1205. These calculations, the data upon which they are

based, and the application of the methods must therefore be admitted.

    D. The State’s Objections Boil Down to an Argument that UNT Is Free to Damage
       Professor Jackson without Consequences

        Without a single authority3 addressing the suitability of methods, the accuracy of the data, or

Professor Borman’s application of methods to the data, the State argues that Professor Jackson may

not be compensated for the benefits taken away from him by UNT. These are disputes of fact,

more properly briefed on summary judgment, not in a challenge to Borman’s admissibility.

        First, the State gets the standard wrong. Indeed, the only application of Daubert within this

District that the State invokes, SB IP Holdings, LLC v. Vivint, Inc., Civil Action No. 4:20-cv-00886,

2023 U.S. Dist. LEXIS 181910, (E.D. Tex. Oct. 10, 2023), illustrates the error. SB IP Holdings

involved a raft of objections to multiple experts, almost all of which this Court overruled. This is

because it is well established that even “if the underlying reasoning for [an expert’s] methodology is

flawed, absurd, or even irrational, then ‘[v]igorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof’ will serve as the proper antidote for

attacking these potentially ‘shaky’ arguments.” Id. (quoting Mobility Workx, LLC v. Cellco P'ship, No.

4:17-CV-00872, 2019 U.S. Dist. LEXIS 191345, at *44 (E.D. Tex. Nov. 5, 2019)).

        Second , the objection that Borman’s calculations are somehow obvious arithmetic and

therefore inadmissible is erroneous. In United States ex rel. Mitchell v. CIT Bank, N.A., Civil Action


3 The State’s argument (from PageID 1193-1201) is devoid of any legal authority on point other than boilerplate

invocations of Federal Rule of Evidence 403 and 702 and Daubert. Cf. ECF No. 70, PageID 1199-1120 and an irrelevant
argument about sovereign immunity (PageID 1197), which is not at issue and appears to be an effort to relitigate the
decision against the State by the Fifth Circuit. Jackson v. Wright, 82 F.4th 362 (5th Cir. 2023).

                                                        10
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 12 of 17 PageID #: 1245



No. 4:14-CV-00833, 2022 U.S. Dist. LEXIS 75850, at *17 (E.D. Tex. Apr. 26, 2022), a party argued

that an expert’s “damages opinions should be excluded because they do not reflect any expertise—

they consist of nothing more than simple arithmetic.” The court disagreed. Just as with Professor

Borman’s calculations here, although the “damages calculations ultimately involve simple arithmetic,

[the expert’s] opinion is not limited to these bare mathematical calculations. To be sure, [the

expert’s] performance of these tasks amounts to more than mere addition, subtraction, and

multiplication, and his expertise in compiling and analyzing the data and documentation given

provides the jury with valuable and necessary assistance.” Id. at *18.

         This is also the reasoning of the higher courts. The Eighth Circuit Court of Appeals

addressed this exact issue. “There is not . . . an implicit requirement in Fed. R. Evid. 702 for the

proffered expert to make complicated mathematical calculations.” WWP, Inc. v. Wounded Warriors

Family Support, Inc., 628 F.3d 1032, 1040 (8th Cir. 2011) (citing In re Prempro Prods. Liab. Litig., 514

F.3d 825, 831 (8th Cir. 2008) (holding district court did not abuse discretion in failing to exclude

expert testimony that represented “an exercise in basic math using simple deductive reasoning”)).

See also City of Tuscaloosa v. Harcros Chems., 158 F.3d 548, 566-567 (11th Cir. 1998) (finding reversible

error, where a lower court excluded in its entirety an expert statistician’s testimony because expert

“generated the statistics underlying his testimony through simple compilation of data . . . and his

testimony regarding estimated damages, are the products of simple arithmetic and algebra and of

multiple regression analysis, a methodology that is well-established as reliable”).4

         Finally, the State repeatedly makes a strawman of Borman’s methods. Professor Jackson is

not, as the State presumes, “a professor who has a certain job duty replaced by another job duty.”

ECF No.70 at PageID #1193. Timothy Jackson has continued to do the same amount of scholarly



4 The court affirmed the partial exclusion of an expert on a finding that “a portion of McClave’s data in testimony is

fundamentally flawed.” City of Tuscaloosa v. Harcros Chems., 158 F.3d 548, 566 (11th Cir. 1998).

                                                            11
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 13 of 17 PageID #: 1246



work and more, but he is now required to teach more. See Borman Report, ECF No.70-1 at

PageID #1214. “If anything, the damage done by Defendants has increased the labor required of

Timothy Jackson to achieve the same scholarly output due to interference with his ability to publish

freely in the face of the reputational harm done to him and the elimination of the JSS.” Id.

         The value of Professor Jackson’s work is, moreover, best assessed by the value of Professor

Jackson’s work. It is not, as the State suggests, best determined by comparing apples to oranges, for

instance the teaching of a Distinguished Research Professor such as Professor Jackson to some

random adjunct Professor who teaches summer courses. The State quibbles over whether teaching

25% more should be valued at 25% more of Jackson’s salary, but this is yet another issue of fact

properly left to cross-examination. “[C]ross-examination, rather than exclusion, is . . . a more

appropriate means to establish the weight of the evidence.” Mobility Workx, LLC, 2019 U.S. Dist.

LEXIS 191345, at *23. Furthermore, when discovery yields additional information, Professor

Borman is entitled to supplement and update his stated opinions.5

    E. Timothy Jackson Is Entitled to Damages as a Third-Party Beneficiary of an RA

         Texas law clearly establishes that a third-party beneficiary of a contract is entitled to damages

for breach of that contract. Davis v. Centurytel Broadband Servs., LLC, No. 3:22-cv-038, 2023 U.S. Dist.

LEXIS 136892, at *6 (S.D. Tex. July 12, 2023). “[T]hird-party-beneficiary status is conferred solely

through the contracting parties’ intent.” Id. Importantly, even if this were not the case, UNT’s

violation of Timothy Jackson’s First Amendment rights is reflected in the monetary value of the

RAship, which Professor Jackson formerly enjoyed and which formerly enhanced his scholarly

productivity, but which UNT has now stripped away because of Defendants’ defamation.



5 Experts are entitled to supplement opinions based on new information revealed in discovery. See e.g. McCord v. United

States, Civil Action No. 4:22-cv-00251, 2024 U.S. Dist. LEXIS 102623, at *13 (E.D. Tex. June 10, 2024) (allowing
plaintiff to supplement expert disclosure). Furthermore, according to this Court’s amended scheduling order, Casey
Borman was disclosed far in advance of the deadline. Plaintiff’s expert disclosure deadline will not lapse until after the
briefing of this motion (October 18, 2024). ECF No. 71.

                                                            12
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 14 of 17 PageID #: 1247



       Here, documents produced in discovery clearly indicate that UNT assigned Timothy Jackson

a .50 FTE to assist with his work at the CSS and JSS -- funding which predated 2004. This was Levi

Walls in July 2020. Levi Walls himself stated that he worked for and reported to Timothy Jackson.

The clearly stated compensation for this position was a “.50 FTE.” Timothy Jackson relied on the

.50 FTE RA-ship to increase his scholarly productivity, not least by bringing out the JSS, which

UNT censored after Volume 12 wounded Defamation Defendants’ subjective feelings about

“antiracism.” The value of an RA-ship FTE is therefore established in the record.

       Here, the State once again advances a strawman argument against Borman’s report. The

State presumes that Jackson’s scholarly output and productivity do not include his duties and work

dedicated to the JSS. ECF No.70 at PageID #1199. This ignores the fact that Professor Jackson’s

work on the JSS was reported annually in his reviews and assessed as part of his status as

Distinguished Research Professor. Third Jackson Affidavit, ¶ 8.

       What Borman actually states is that the benefit bestowed by the research assistantship

enabled Professor Jackson to “enhance/augment his work and the value of his career.” ECF No.

70-1 at PageID #1216. This was a fringe benefit with a monetary value bestowed upon him no less

than health insurance or other fringe benefits. Id. And once again, to the extent the State wishes to

dispute these facts, this is a matter left to cross-examination and the development of disputed facts

through evidence. See e.g. Mobility Workx, LLC, supra.

       The State also spills a great deal of ink challenging whether Borman’s calculation of a .50

FTE is accurate (while simultaneously objecting that it is simple math). Notably, the State provides

no evidence of any alternative value of an FTE, and for obvious reasons: because the calculation is

correct. Nor is there any representation, through affidavit or otherwise, that a .50 FTE for Levi

Walls was somehow different in value from the value of an FTE paid for another graduate student

who worked for Timothy Jackson. However, should Defendants provide a different value, Casey


                                                  13
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 15 of 17 PageID #: 1248



Borman should be allowed to supplement his opinion based on (purportedly) more accurate figures.

Moreover, this is a matter of fact reserved for trial or, at the very least, summary judgment. The

Court should not decide this issue on an incomplete record here.

        Finally, the State is upset that Borman has made certain assumptions. As a damages expert,

Borman is entitled to assume liability, and any expert may make assumptions concerning disputed

facts. See United States ex rel. Mitchell v. CIT Bank, N.A., Civil Action No. 4:14-CV-00833, 2022 U.S.

Dist. LEXIS 75850, at *9 (E.D. Tex. Apr. 26, 2022) (holding expert is permitted to rely on disputed

facts in formulating damages opinions and “[w]hen the parties dispute the facts underlying the

expert's opinions, they may address these issues on cross-examination in light of the facts that

emerge at trial”); BHI Energy I Power Servs. LLC v. KVP Holdings, LLC, No. 3:22-cv-1981-L-BN, 2024

U.S. Dist. LEXIS 75043, at *9 (N.D. Tex. Apr. 24, 2024) (holding, “Experts are permitted to rely on

assumptions when reaching their opinions”); Robroy Indus. Tex., LLC v. Thomas & Betts Corp., No.

2:15-CV-512-WCB, 2017 U.S. Dist. LEXIS 54230, at *12 (E.D. Tex. Apr. 10, 2017) (holding

damages expert “is allowed to assume liability and address only the issue of damages” is “principle

. . . expressed in numerous cases, and it is beyond serious challenge”) (collecting cases).

III.    THE STATE’S RELEVANCE ARGUMENTS HAVE NO MERIT

        The State argues that Borman’s testimony is not relevant. In support, however, the State

reprises an irrelevant argument about sovereign immunity. The State claims, propping up yet

another strawman, that Borman’s report is some sort of effort to make individual state actors liable.

        Borman is proffered to testify to defamation damages, not sovereign immunity issues. To

address this, the State argues that, if the Defamation Defendants did not personally make the

administrative decisions to strip Timothy Jackson of benefits he had previously enjoyed, then there

can be no defamation damages. Of course the State provides no authority for this proposition—

that damage in the form of reputational harm must be imposed directly by the individual


                                                   14
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 16 of 17 PageID #: 1249



Defamation Defendants. This is never the case in defamation. Where, for example, a plaintiff’s

reputation in a business interest is destroyed, the defendants need not be the customers who desert

the business, which is the immediate cause of pecuniary loss in the form of lost revenue. See e.g.

Butowsky v. Folkenflik, Civil Action No. 4:18CV442, 2020 U.S. Dist. LEXIS 256374, at *17 (E.D. Tex.

Sep. 1, 2020) (defamation plaintiff pleading damage done by defendant due to losses that defendant

caused non-party customer to inflict on him as a direct result).

        No case law indicates that a defamation defendant must be an academic administrator whose

“administrative decisions” imposed the negative consequences of the defamation. True enough.

UNT’s administration did the exact thing that the Defamation Defendants clamored for in their

petitions. It was not the Defamation Defendants who acted directly to do so. They simply defamed

Timothy Jackson through their petitions and agitation. As soon as the Defamation Defendants

hollered for Timothy Jackson to be fired for “racist actions” and “extorsion” and for the JSS to be

put “on ice,” Dean Richmond announced that there would be an “investigation” in the name of

“combatting racism.” The JSS was shuttered immediately, just what the Defamation Defendants

clamored for.

        It is not Professor Borman’s math that is simple, as the State maintains; it is the straight-line

causal relationship between the Defamation Defendants’ defamation and UNT’s response that is

simple. Of course, there is likewise absolutely no authority to support the State’s contention that

Borman’s opinions cannot aid the jury but will instead confuse and mislead the jury. This argument

is tossed into the end of their brief as a kind of Hail Mary, and it should also be rejected.

 IV.    CONCLUSION

        For the foregoing reasons, the State’s Motion to Strike Plaintiff’s Expert Casey Borman

should be denied in full.




                                                   15
Case 4:21-cv-00033-ALM Document 74 Filed 08/21/24 Page 17 of 17 PageID #: 1250



                                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

 I hereby certify that on the date specified in the caption of this document, I electronically filed the
 foregoing with the Clerk of Court, to be served on all parties of record via the CM/ECF system.

                                                     /s/Michael Thad Allen
                                                     Michael Thad Allen




                                                   16
